Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 1 of 21

IN THE SUPERIOR COURT OF DOUGLAS COUNTY
STATE OF GEORGIA

CHRISTOPHER PAUL PEARSON, and
MARSHA ANNE PEARSON, Si

\2 \

Plaintiffs, Cc (( ON

CIVIL ACTION FILE
NO.: 15CV02374

 

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)
)
Vv)
)
VS. )
)
DR. WILLIAM M, WENINGER, SR., )
individually and as an officer of The King’s }
Way Baptist Church, Inc., and The King’s  )}
Way Christian School, )
)

JOE HAYMAN, individually and as an )
officer of The King’s Way Baptist Church, )
Inc., )
| )

DR. RAY CONWAY, SR., individuaily )
and as an officer of the King’s Way }
Baptist Church and as Administrator of )
The King’s Way Christian School, )
)

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THE KING’S WAY BAPTIST CHURCH,
INC., and

THE KING’S WAY CHRISTIAN
SCHOOL,

Defendants.

ANSWER OF DEFENDANT DR. WILLIAM M. WININGER, SR.

COME NOW Dr. William M. Wininger, Sr. (“Defendant Wininger”), a co-Defendant
herein, and sets forth the following as his Answer against the Plaintiffs Christopher Paul Pearson
and Marsha Anne Pearson (collectively “Plaintiffs”, individually “M. Pearson” and “C.
Pearson’):

FIRST AFFIRMATIVE DEFENSE
1.
Under O.C.G.A. § 9-11-12(b)(6), the Plaintiffs have failed to state a claim upon which

relief can be granted.

 
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SECOND AFFIRMATIVE DEFENSE

2.
Under 0.C.G.A. § 9-11-8(c), the Plaintiffs’ claims are barred by estoppel, laches, res
judicata, the statute of limitations, and waiver, among other affirmative defenses.
ANSWER
3.
The Defendant Wininger lacks information sufficient to admit or deny the allegations
contained in paragraph 1 of the Plaintiffs’ Complaint.
4.
The Defendant Wininger admits the allegations contained in paragraph 2 of the Plaintiffs’
Complaint.
5.
The Defendant Wininger admits the allegations contained in paragraph 3 of the Plaintiffs’
Complaint.
6.
The Defendant Wininger admits the allegations contained in paragraph 4 of the Plaintiffs’
Complaint.
7.
The Defendant Wininger lacks information sufficient to admit or deny the allegations
contained in paragraph 5 of the Plaintiffs’ Complaint.
8.
The Defendant Wininger lacks information sufficient to admit or deny the allegations
contained in paragraph 6 of the Plaintiff's Complaint.
9.
The Defendant Wininger admits the allegations contained in paragraph 7 of the Plaintiffs’

Complaint.
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10.

The Defendant Wininger admits the allegations contained in paragraph 8 of the Plaintiffs’
Complaint insofar as the Notice of Right to Sue being issued by the Equal Employment
Opportunity Commission, but he lacks sufficient information to admit or deny that all other
conditions precedent have been performed.

Ll.

The Defendant Wininger admits the allegations contained in paragraph 9 of the Plaintiffs’
Complaint.

12.

The Defendant Wininger admits the allegations contained in paragraph 10 of the
Plaintiffs’ Complaint insofar as the Plaintiff M. Pearson being employed by the Defendants The
King’s Way Baptist Church, Inc. (“Church”) and The King’s Way Christian School (“School”).
However, the Defendant Wininger adds that the Plaintiff M. Pearson did not have the same
classroom each year.

13.

The Defendant Wininger admits the allegations contained in paragraph 11 of the
Plaintiffs’ Complaint.

14.

The Defendant Wininger admits the allegations contained in paragraph 12 of the
Plaintiffs’ Complaint insofar as the positions allegedly held by the Defendants Wininger and Dr.
Ray Conway, Sr. (“Conway”). However, the Defendant Wininger adds that he was not the
Supervisor of the Defendant School as of when the Plaintiff M. Pearson was terminated from her
employment.

15,
Notwithstanding the date(s) and/or time(s) alleged in paragraph 13 of the Plaintiffs’

Complaint, the Defendant Wininger admits he hugged the Plaintiff M. Pearson muitiple times
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 4 of 21

during the years without the Plaintiff M. Pearson ever complaining about it. The incidents
occurred im a classroom that anyone could enter at any time, including parents who were
dropping their children off at school.

16.

The Defendant Wininger denies the allegations contained in paragraph 14 of the
Plaintiffs’ Complaint.

17,

Notwithstanding the date(s) alleged in paragraph 15 of the Plaintiffs’ Complaint, the
Defendant Wininger denies trying to kiss the Plaintiff M. Pearson, and he denies the Plaintiff M.
Pearson told him, “No.”

18.

Notwithstanding the date(s) alleged in paragraph 16 of the Piaintiffs’ Complaint, the
Defendant Wininger denies sexually assaulting the Plaintiff M. Pearson, and he adds that the
walls of the classrooms were so thin that shouting by anyone would hkely have been heard in
other rooms and would have immediately raised questions about what was occurring.

19.

The Defendant Wininger denies the allegations contained in paragraph 17 of the
Plaintiffs’ Complaint.

20,

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 18 of the Plaintiffs’ Complaint.

al.

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 19 of the Plaintiffs’ Complaint concerning what knowledge the Plaintiff

M. Pearson may or may not have possessed about allegations of misconduct by the Defendant
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 5 of 21

Wininger in Michigan. The Defendant Wininger adds that Michigan law enforcement
investigated the allegations and deemed them “unfounded.”
22.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 20 of the Plaintiffs’ Complaint.
23.

The Defendant Wininger admits the allegations contained in paragraph 21 of the
Plaintiffs’ Complaint.

24.

The Defendant Wininger denies the allegations contained in paragraph 22 of the
Plaintiffs’ Complaint.

25,

The Defendant Wininger denies the allegations contained in paragraph 23 of the
Plaintiffs’ Complaint.

26.

The Defendant Wininger admits the allegations contained in paragraph 24 of the
Plaintiffs’ Complaint except for the allegation that the Michigan case may have been related to
the Defendant Wininger’s alleged behavior, which allegation the Defendant Wininger denies.

27.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 25 of the Plaintiffs’ Complaint.
28.
Notwithstanding the date alleged in paragraph 26 of the Plaintiffs’ Complaint, the

Defendant Wininger admits the allegation about his resignation.
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29,

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 27 of the Plaintiffs’ Complaint.
30.
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 28 of the Plaintiffs’ Complaint.
31.
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 29 of the Plaintiffs’ Complaint.
32,
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 30 of the Plaintiffs’ Complaint.
33.
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 31 of the Plaintiffs’ Complaint. |
34,
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 32 of the Plaintiffs’ Complaint.
35.
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 33 of the Plaintiffs’ Complaint.
36.
The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 34 of the Plaintiffs’ Complaint.
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37.

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 35 of the Plaintiffs’ Complaint.
38.
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 36 of the Plaintiffs’ Complaint.
39.
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 37 of the Plaintiffs’ Complaint.
40,
The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 38 of the Plaintiffs’ Complaint.
41.
The Defendant Wininger denies the allegations contained in paragraph 39 of the
Plaintiffs’ Compiaint.
42.
The Defendant Wininger denies the allegations contained in paragraph 40 of the
Plaintiffs’ Complaint.
43.
The Defendant Wininger admits the allegations contained in paragraph 41 of the
Plaintiffs’ Complaint.
44.
The Defendant Wininger denies the allegations contained in paragraph 42 of the

Plaintiffs’ Complaint.
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45,

The Defendant Wininger denies the allegations contained in paragraph 43 of the
Plaintiffs’ Complaint.

46.

The Defendant Wininger denies the allegations contained in paragraph 44 of the
Plaintiffs’ Complaint.

47,

The Defendant Wininger admits the allegations contained in paragraph 45 of the
Plaintiffs’ Complaint insofar as both Defendants being in supervisory positions but the
Defendant Wininger denies being the Plaintiff M. Pearson’s supervisor as of the date of her
termination from employment.

48.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 46 of the Plaintiffs’ Complaint.
49,

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 47 of the Plaintiffs’ Complaint.
50.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 48 of the Plaintiffs’ Complaint.
51.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 49 of the Plaintiffs’ Complaint.
52.
The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 50 of the Plaintiffs’ Complaint.
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53.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 51 of the Plaintiffs’ Complaint.
54.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 52 of the Plaintiffs’ Complaint.
55.

The Defendant Wininger admits the Plaintiff M. Pearson was terminated from further
employment but he lacks sufficient information to admit or deny the remaining allegations
contained in paragraph 53 of the Plaintiffs’ Complaint.

56.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 54 of the Plaintiffs’ Complaint.
57.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 55 of the Plaintiffs’ Complaint.
58.

The Defendant Wininger denies the allegations contained in paragraph 56 of the
Plaintiffs’ Complaint.

59.

The Defendant Wininger denies the allegations contained in paragraph 57 of the
Plaintiffs’ Complaint.

60.
The Defendant Wininger denies the allegations contained in paragraph 58 of the

Plaintiffs’ Complaint.
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 10 of 21
61.

The Defendant Wininger denies the allegations contained in paragraph 59 of the
Plaintiffs’ Complaint.

62.

The Defendant Wininger admits the allegations contained in paragraph 60 of the
Plaintiffs’ Complaint insofar as both Defendants being in supervisory positions but the
Defendant Wininger denies being the Plaintiff M. Pearson’s supervisor as of the date of her
termination from employment.

63.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 61 of the Plaintiffs’ Complaint.
64.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 62 of the Plaintiffs’ Complaint.
65,

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 63 of the Plaintiffs’ Complaint.
66.

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 64 of the Plaintiffs’ Complaint, and he adds that he worked at or for
certain of the other Defendants for approximately fifteen (15) years before the allegations of
wrongdoing in this case arose.

67.
The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 65 of the Plaintiffs’ Complaint, and he adds that he worked at or for
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 11 of 21

certain of the other Defendants for approximately fifteen (15) years before the allegations of
wrongdoing in this case arose.
68.

The Defendant Wininger denies the allegations contained in paragraph 66 of the
Plaintiffs’ Complaint.

69.

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 67 of the Plaintiffs’ Complaint, and he adds that during a court
proceeding in his related Douglas County criminal case, the Plaintiff M. Pearson read a Jetter to
him in which she stated how great her family was doing.

70.

The Defendant Wininger lacks sufficient information to admit or deny the allegations

contained in paragraph 68 of the Plaintiffs’ Complaint.
71.

The Defendant Wininger denies the allegations contained in paragraph 69 of the:
Plaintiffs’ Complaint.

72.

The Defendant Wininger admits the allegations contained in paragraph 70 of the
Plaintiffs’ Complaint.

73.

The Defendant Wininger lacks sufficient information to admit or deny the allegations
contained in paragraph 71 of the Plaintiffs’ Complaint, and he adds that during a court
proceeding in his related Douglas County criminal case, the Plaintiff M. Pearson read a letter to

him in which she stated how great her family was doing.
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 12 of 21
74,

The Defendant Wininger denies the allegations contained in paragraph 72 of the
Plaintiffs’ Complaint.
75,
The Defendant Wininger denies the allegations contained in paragraph 73 of the
Plaintiffs’ Complaint.
76,
The Defendant Wininger denies the allegations contained in paragraph 74 of the
Plaintiffs’ Complaint.
77,
The Defendant Wininger denies the allegations contained in paragraph 75 of the
Plaintiffs’ Complaint.
78.
The Defendant Wininger denies the allegations contained in paragraph 76 of the
Plaintiffs’ Complaint.
79,
The Defendant Wininger denies the allegations contained in paragraph 77 of the
Plaintiffs’ Complaint.
80.
All other allegations contained in the Complaint that have not heretofore been

admitted are hereby denied.

WHEREFORE, the Defendant Wininger prays as follows:
(a) That judgment be entered in the Defendant’s favor and against the Plaintiffs on
the counts set forth in the Plaintiffs’ Complaint;

(b) All Attorney fees and filing costs; and
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 13 of 21

(c} That the Court afford the Defendant all other and further relief at law or in

equity as it may deem necessary or appropriate in the interest of justice.

Respectfully submitted,

J. Mac C. Pilgrim
Georgia Bar No. 141955
Daniel E. Rice

Georgia Bar No. 183746
Attorneys for Defendant

 

THE PILGRIM LAW GROUP, LLC
845 South Carroll Road, Ste A & B
P.O. Box 2200

Villa Rica, Georgia 30180
Telephone: (770) 459-9210
mac@theplg.net
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 14 of 21

IN THE SUPERIOR COURT OF DOUGLAS COUNTY
STATE OF GEORGIA BIE ES

CHRISTOPHER PAUL PEARSON, and
MARSHA ANNE PEARSON,
CIVIL ACTION FILE

Plaintiffs, NO.: 15CV02374

 

vs.

DR. WILLIAM M. WININGER, SR.,
individually and as an officer of The King’s
Way Baptist Church, Inc., and The King’s
Way Christian School,

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JOE HAYMAN, individually and as an )
officer of The King’s Way Baptist Church, )
Inc., )
)

DR. RAY CONWAY, SR., individually )
and as an officer of the King’s Way )
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Baptist Church and as Administrator of
The King’s Way Christian School,

THE KING’S WAY BAPTIST CHURCH,
INC., and

THE KING’S WAY CHRISTIAN
SCHOOL,

Defendants.

VERIFICATION

I, William M. Wininger, Sr., do hereby on this_ 4% day of Gere DEA _, 2015, verify and

confirm that my Answer to the Plaintiffs’ Complaint is truthful and accurate to the best of my knowledge.

William M. Wininger, Sr

Swom to and subse ibed, before me
this Z (Ne tpber _, 2015.

  
  

ylvia Borders
My Commission Expires
August 12, 2016
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 15 of 21

 

IN THE SUPERIOR COURT OF DOUGLAS COUNTY
STATE OF GEORGIA Otte ary
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CHRISTOPHER PAUL PEARSON, and
MARSHA ANNE PEARSON,

  

CIVIL ACTION FILE *" bite

Plaintiffs, NO.: 15CV02374

vs.
DR. WILLIAM M. WININGER, SR.,
individually and as an officer of The King’s
Way Baptist Church, Inc., and The King’s
Way Christian School,

JOE HAYMAN, individually and as an
officer of The King’s Way Baptist Church,
Inc.,

DR. RAY CONWAY, SR., individually
and as an officer of the King’s Way

Baptist Church and as Administrator of
The King’s Way Christian School,

THE KING’S WAY BAPTIST CHURCH,
INC., and

THE KING’S WAY CHRISTIAN

SCHOOL,
Defendants.

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DEFENDANT WILLIAM M. WININGER’S FIRST REQUESTS
FOR ADMISSIONS TO THE PLAINTIFFS AND ALL OTHER DEFENDANTS

To: The Plaintiffs and All Other Defendants

COMES NOW the Defendant Dr. William M. Wininger, Sr. (“Defendant Wininger”),
and pursuant to 0.C.G.A. § 9-11-36, propounds these Requests for Admissions to the Plaintiffs
and all other Defendants in the above-styled action. The Plaintiffs and all other Defendants are
requested to admit the following matters separately and fully in writing and under oath and to

serve a copy of said admissions upon counsel for the Defendant Wininger within thirty (30) days
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 16 of 21

of the service of these requests. If the production or identification of any documents or things is
objected to, please give a sufficient description of each item so that the Court can determine if
the objection is valid.

NOTE A: These Requests shall be deemed as continuing so as to require supplemental
answers if you or your attorney obtains further information between the time Admissions are served
and the time of the trial. Any such supplemental answers should be filed and served upon counsel
for the Defendant Wininger within fifteen (15) days from receipt of such additional information, but
in any event, no later than at the time of the trial, in accordance with O.C.G.A. § 9-11-26(e).

NOTE B: When used in these discovery requests, the words “Plaintifi(s)”,
“Defendant(s),” “you” or “your” or any other word referring to the party or parties to whom these
discovery requests are directed, should be interpreted to include — in addition to the said party or
parties — all agents, servants, employees, representatives, attorneys, or other persons or entities from
whom information sought by these discovery requests is accessible to the party or parties to whom
they are directed.

NOTE C: When used in these discovery requests, the words “Document,”
“documents,” and “writing,” mean all records, papers, transcriptions, pictures, drawings or diagrams
of every nature, whether transcribed by hand or by some mechanical, electronic, photographic or
other means, whether in your actual or constructive possession or under your control or not, relating
or pertaining in any way to the subject matters in connection to which it is used, all originals, file
copies, and all other copies, no matter how prepared, and include, without limitation: records,
reports, agreements, video, audio and other electronic recordings, memoranda, notes, electronic
mail, facsimiles, photographs, maps, drawings, diagrams, sketches, analyses, transcripts, and any

other documents within defendants’ possession, custody, or control from which information can be
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 17 of 21

obtained.
REQUESTS FOR ADMISSION
1.

Admit that the proceedings through the federal Equal Employment Opportunity
Commission (“EEOC”) were ex parte, i.e., the Defendant Wininger was not allowed to defend
himself before the EEOC prior to the EEOC issuing the Notice of Right to Sue to the Plaintiff
Marsha Anne Pearson (“Plaintiff M. Pearson”).

2.
Admit that the Notice of Right to Sue is not a guarantee by the EEOC that the Plaintiffs
herein will win this lawsuit.
3.
Admit that the Defendant Wininger hugged the Plaintiff M. Pearson multiple times.
4.

Admit that the Defendant Wininger never hugged the Plaintiff M. Pearson where no one

else could witness his conduct.
5.
Admit that the Defendant Wininger never touched the Plaintiff M. Pearson in a sexual

manner.

6.
Admit that the Defendant Wininger always touched the Plaintiff M. Pearson with her

consent and/or without immediate protest by her.

7.

Admit that no statements by the Defendant Wininger to the Plaintiff M. Pearson
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 18 of 21

concerning her sons’ attendance at the Defendant The King’s Way Christian School (“School”)
denied free will to the Plaintiff M. Pearson.
8.
Admit that the Defendant Wininger never kissed the Plaintiff M. Pearson.
9.
Admit that the Defendant Wininger never sexually assaulted the Plaintiff M. Pearson.
10.

Admit that the Defendant Wininger never engaged in any conduct to remove or attempt

to remove any of the Plaintiff M. Pearson’s children from the Defendant School.
11.

Admit that the Plaintiff M. Pearson never personally investigated the allegations of

misconduct from the Defendant Wininger’s time in Michigan.
12,

Admit that the Defendant Wininger did not control the conduct of the Defendants Joe
Hayman (“Hayman”) and Dr. Ray Conway, Sr. (“Conway”), insofar as the allegations presented
in the Complaint herein.

13,

Admit that the Defendant Wininger never prevented the Plaintiff M. Pearson from

reporting allegations of wrongdoing by the Defendant Wininger to anyone else.
14.

Admit that the Defendant Wininger is not liable for any alleged conduct by any of the

Defendants other than Defendant Wininger that allegedly occurred after the date the Defendant

Wininger resigned.
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 19 of 21

15.
Admit that the Plaintiff M. Pearson’s termination of employment was a result of her own
conduct.
16.
Admit that the Plaintiff M. Pearson’s termination of employment was not because of
anything the Defendant Wininger may or may not have done to justify said termination.
17.
Admit that the Defendant Wininger’s conduct toward the Plaintiff M. Pearson was never
hostile nor abusive.
18.
Admit that the Plaintiff M. Pearson notified the Defendant Wininger during the pendency
of his related Douglas County criminal case that she and her family were doing fine.
19.
Admit that the Defendant Wininger is not liable for any difficulty or trouble arising
within the marital relationship between the Plaintiffs.
20.
Admit that the Defendant Wininger’s conduct, insofar as this case is concerned, has not
been in bad faith.
21.
Admit that the Defendant Wininger’s conduct, insofar as this case is concerned, has not

been stubbornly litigious.
22.

Admit that the Defendant Wininger’s conduct, insofar as this case is concerned, has not
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 20 of 21

IN THE SUPERIOR COURT OF DOUGLAS COUNTY
STATE OF GEORGIA

 

CHRISTOPHER PAUL PEARSON, and
MARSHA ANNE PEARSON, minprpt an
CIVIL ACTION FILE ©8069 20 AN & 1g

Plaintiffs, NO.: 15CV02374

 

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VS. )
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DR. WILLIAM M. WININGER, SR., )
individually and as an officer of The King’s )
Way Baptist Church, Inc., and The King’s}
Way Christian School, )
)

JOE HAYMAN, individually and as an )
officer of The King’s Way Baptist Church, )}
Inc., )
)

DR. RAY CONWAY, SR., individually )
and as an officer of the King’s Way )
Baptist Church and as Administrator of )
The King’s Way Christian School, }
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THE KING’S WAY BAPTIST CHURCH,
INC., and

THE KING’S WAY CHRISTIAN
SCHOOL,

Defendants.
RULE 5.2 CERTIFICATE OF SERVICE

| hereby certify that I have this day served counsel for the parties with the DEFENDANT
DR. WILLIAM M, WININGER, SR.’S ANSWER, FIRST CONTINUING
INTERROGATORIES TO THE PLAINTIFFS AND ALL OTHER DEFENDANTS,
FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS TO THE PLAINTIFFS
AND ALL OTHER DEFENDANTS, AND REQUESTS FOR ADMISSION TO THE
PLAINTIFFS AND ALL OTHER DEFENDANTS by depositing a copy of same in the U.S.

Mail, properly addressed with sufficient first class postage thereon to insure delivery to:

Hartley, Rowe & Fowler, PC Holberg & Weaver, LLP
Joseph H. Fowler George M. Weaver
PO Box 489 2921 Piedmont Rd, NE, Ste C

Douglasville, Georgia 30133 Atlanta, Georgia 30305
Case 1:15-cv-03849-AT Document 2 Filed 11/04/15 Page 21 of 21
This AA day of October, 2015

Respectfully submitted,
J. Mac C. Pilgrim
Georgia Bar No. 141955
Daniel E. Rice

Georgia Bar No. 183746
Attorneys for Defendant

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